          Case 1:22-cr-00098-PB Document 24 Filed 08/29/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                            )
                                                    )
               v.                                   )       Cr. No. 1:22-CR-98-PB-03
                                                    )
MANUEL DASHAWN HENDERSON                            )
__________________________________________


                                 PRAECIPE FOR WARRANT

       The Clerk of said Court will issue a warrant, an Indictment against the above-named

defendant having been filed in the above-entitled case on the 29th day of August, 2022.

       This 29th day of August, 2022.

                                                    JANE E. YOUNG
                                                    United States Attorney


                                                    By: /s/ Joachim H. Barth
                                                       Joachim H. Barth
                                                       Assistant U.S. Attorney


WARRANT ISSUED: ______________________
